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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 COVINGTON DIVISION


DONNA OEHLER                                  :      Case No.: 2:21-cv-00135
1013 Westchester Way                          :
Cincinnati, OH, 45244                         :      Judge William O. Bertelsman
                                              :
               Plaintiff,                     :      Magistrate Judge Candace J. Smith
                                              :
       v.                                     :
                                              :
ECLIPSE SENIOR LIVING, INC.                   :      PLAINTIFF’S FIRST AMENDED
5885 Meadows Road, Suite 500                  :      COMPLAINT WITH JURY DEMAND
Lake Oswego, OR 97035                         :      ENDORSED HEREON
                                              :
Serve on:                                     :
REGISTERED AGENT SOLUTIONS,                   :
INC.                                          :
828 Lane Allen Rd.                            :
Suite 219                                     :
Lexington, KY 40504                           :
                                              :
       Defendant.                             :


                                            PARTIES
       1.      Plaintiff Donna Oehler is a resident and citizen of the state of Ohio.

       2.      Defendant Eclipse Senior Living, Inc. is incorporated in Delaware and has its

principal place of business located in Oregon.

       3.      Defendant is an employer within meaning of federal and Kentucky law and is

registered to conduct business within the Commonwealth of Kentucky.

                                JURISDICTION AND VENUE
       4.      This Court has jurisdiction to hear this case pursuant to 28 U.S.C. §1332 because

the parties are completely diverse and the amount in controversy exceeds the jurisdictional

minimum.
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       5.      This Court has personal jurisdiction over Defendant in this matter because

Defendant is registered to conduct business in the Commonwealth of Kentucky.

       6.      Plaintiff filed a timely charge of discrimination with the EEOC.

       7.      Venue is proper in this Division and District because Plaintiff was employed in

this Division and District in Florence, Kentucky and a substantial part of the events giving rise to

Plaintiff’s claims occurred in this Division and District.

                                  FACTUAL ALLEGATIONS

       8.      Plaintiff was born in 1957 and was 64 years old at the time of her termination

from Defendant.

       9.      She was recruited by a predecessor to Defendant for the Community Relations

Director position which she began on or about December 28, 2011. Plaintiff worked at Elmcroft

of Florence, an assisted living community located in Florence, Kentucky. Elmcroft of Florence

is a “Health facility” as defined by KRS §216B.015.

       10.     Defendant is a national manager of senior assisted living facilities including

several under its Elmcroft brand such as the facility where Plaintiff worked. Defendant owned

approximately 107 Elmcroft locations coast to coast.

       11.     Throughout her employment Plaintiff was a loyal and dedicated employee who

received favorable performance reviews and earned multiple pay increases because of her

performance.

       12.     In August 2018, Plaintiff earned a promotion to Executive Director of Elmcroft of

Florence.

       13.     Plaintiff’s most recent performance review in March 2021 indicated that she was

meeting or exceeding the performance expectations for the job, and she was awarded a bonus for



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her good performance. Her direct supervisor Regional Operations Director Shay Lingerfelt

praised Plaintiff for her community’s strong metrics and high resident satisfaction scores.

       14.     Under Plaintiff’s leadership, Elmcroft of Florence avoided Covid outbreaks that

impacted many of the other assisted living communities in the region. The facility only had 4

residents test positive for Covid and only because a resident contracted Covid while outside of

the community for a surgical procedure.

       15.     At 64 years old Plaintiff was the oldest Executive Director in the region. Many

other older Executive Directors employed by Defendant left the company either voluntarily or

involuntarily within the last couple of years.

       16.     In May 2021, Plaintiff requested permission from the Area HR Director Kari

Vaughn and Mr. Lingerfelt to terminate the Memory Care Director Koreana Manley. Plaintiff

presented to them a timeline of performance, quality of care, and resident safety issues and

indicated that she had documentation to support the concerns including written coaching.

       17.     Ms. Vaughn requested to see the documentation related to the performance,

quality of care, and resident safety concerns with Ms. Manley. Plaintiff provided the

documentation and detailed the history establishing that Ms. Manley had demonstrated a lack of

caring and that termination was appropriate.

       18.     Plaintiff waited for HR approval to terminate Ms. Manley, but Ms. Vaughn never

responded after Plaintiff provided the documentation requested.

       19.     On Sunday July 11, 2021, an incident of suspected elder abuse occurred in the

memory care unit. A Resident Assistant (RA) threw water in the face of a memory impaired

resident who resided in the Alzheimer’s/dementia wing in the community.




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       20.     Additionally, while Plaintiff was on vacation between June 23 and July 5, Ms.

Manley purchased squirt guns for the staff and instructed them to squirt memory impaired

residents to correct behavior. This was a form of abuse and not a practice used to redirect

residents.

       21.     Plaintiff did not learn of these incidents until July 13. Upon learning of the

suspected elder abuse, Plaintiff immediately suspended the offending employees pending an

investigation. She also immediately notified her supervisor Mr. Lingerfelt who instructed

Plaintiff to hold off on contacting Adult Protective Services (APS). Defendant’s instruction to

Plaintiff to hold off on reporting was a violation of KRS 209.030, part of the Kentucky Adult

Protection Act (“KAPA”) which requires that a report “shall be made immediately” if there is

“reasonable cause to suspect that an adult has suffered abuse. . . . “

       22.     Plaintiff again requested permission to fire Ms. Manley.

       23.     Plaintiff was instructed to await further instruction before contacting the

authorities. Further, Ms. Vaughn would not let Plaintiff fire Manley because she had not been

placed on a PIP.

       24.     Plaintiff responded by reminding Vaughn that she had provided documentation in

May to support termination but Vaughn never responded. Plaintiff reminded Vaughn that

Manley gave the order to use water guns, that it was elder abuse, that it violated the law, the

resident’s rights, was not tolerated by Elmcroft and that it was a terminable offense.

       25.     Finally on July 16, after a conference call with corporate, Plaintiff was given

approval to report the incidents to APS and the Florence Police Department and Plaintiff

personally made the reports. She was also given approval to fire Ms. Manley, which she did.




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       26.        Plaintiff was also provided a script written and approved by Defendant to follow

when she called the families of the residents involved. She was specifically instructed to follow

the script and not to inform the son of the resident who had water thrown in her face about that

incident.

       27.        On July 19, Plaintiff was not feeling well but she took her temperature and was

not running a fever. She reported for work and gave herself a Covid test which came back

negative. On a conference call later that day with Mr. Lingerfelt it was discussed that she was

not feeling well, and she was asked about whether she had passed Covid screening.

       28.        Plaintiff explained that Elmcroft of Florence had not been conducting entry

screenings of employees since Mid-May based upon a written communication from corporate

that “[W]e are no longer conducting proactive screening testing for communities in counties with

> 10% positivity test rates unless it remains a requirement by the state or local public health

departments.”

       29.        On July 20, Plaintiff met with the resident’s son and Mr. Lingerfelt participated

by phone. During this meeting the son requested a copy of an incident report involving his

mother. Lingerfelt after initially claiming that it was an internal document gave approval for

Plaintiff to email a copy to the son. Plaintiff and the resident’s son both heard Lingerfelt give

permission to Plaintiff to provide a copy.

       30.        On July 25, Plaintiff was informed that she was being suspended, allegedly for

stopping the screening of associates and because she provided a copy of the incident report to the

resident’s son.

       31.        Plaintiff explained that she only stopped the screening after receiving

communication to do so and that Mr. Lingerfelt had given approval to release the incident report.



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       32.     Despite this, Defendant terminated Plaintiff’s employment on July 28, 2021.

       33.     Upon information and belief, Defendant engages in pattern and practice of age

discrimination.

                                             COUNT I

  (WRONGFUL TERMINATION IN VIOLATION OF KENTUCKY PUBLIC POLICY)

       34.     Plaintiff realleges the foregoing paragraphs as if fully rewritten herein.

       35.     The Commonwealth of Kentucky recognizes an important public interest in

preventing adult abuse, neglect, and exploitation. This public policy is reflected in the enactment

of the Kentucky Adult Protection Act (KAPA). Kentucky also recognizes an important public

interest in reporting quality of care and patient safety concerns at health facilities. This public

policy is reflected in the enactment KRS 216B.165.

       36.     Plaintiff engaged in protected activity on multiple occasions including when she

informed Defendant of suspected elder abuse, advised Defendant that Elmcroft was required to

immediately report the abuse, and when she made the report of abuse to APS and the Florence

Police Department. Plaintiff also engaged in protected activity under KRS 216B.165(1) when

she reported her quality of care/patient safety concerns to Mr. Lingerfelt and previously to Ms.

Vaughn and Mr. Lingerfelt regarding Manley.

       37.     After Plaintiff engaged in protected activity, Defendant retaliated against Plaintiff

by terminating her employment.

       38.     Plaintiff’s protected activity was a substantial and motivating factor in her

termination.

       39.     But for Plaintiff’s protected activity she would not have been discharged.




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       40.     As a direct and proximate result of Plaintiff’s wrongful termination in violation of

Kentucky public policy she has suffered damages and is entitled to recovery.

                                            COUNT II
                                    AGE DISCRIMINATION
                          (Kentucky Civil Rights Act, KRS 344.040)
       41.     Plaintiff realleges the foregoing paragraphs as if fully rewritten herein.

       42.     Plaintiff was 64 years old at the time of her termination and the oldest Executive

Director in the region.

       43.     She was fully qualified for her position as Executive Director of Elmcroft of

Florence.

       44.     Defendant unlawfully discriminated against Plaintiff by subjecting her to age-

based comments, treating her less favorably than similarly situated younger employees and

terminating her because of her age in violation of Kentucky law. The age-based comments

included the previous Regional Director referring to Plaintiff as “old,” and questioning Plaintiff

as to when she planned to retire.

       45.     Upon information and belief, after Plaintiff was terminated Defendant replaced

her with a substantially younger employee.

       46.     As a direct and proximate result of Plaintiff’s unlawful termination she has

suffered damages and is entitled to recovery.

                                           COUNT III

                                         RETALIATION

                                          (KRS 446.070)

       47.     Plaintiff realleges the foregoing paragraphs as if fully rewritten herein.




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       48.     Defendant violated KRS 209.030 by instructing Plaintiff to hold off on making a

report of elder abuse. Defendant also violated KRS 216B.165(3) by terminating Plaintiff

because she reported quality of care/patient safety concerns.

       49.     Defendant terminated Plaintiff in retaliation for her legally protected activity

under KRS 209.030 and KRS 216B.165(1).

       50.     The above referenced statutes do not provide a remedy for Plaintiff and therefore

she has a cause of action for retaliatory discharge pursuant to KRS 446.070.

       51.     But for Plaintiff’s protected activity she would not have been terminated.

       52.     Defendant’s above-described actions in terminating Plaintiff’s employment

violate the KAPA and KRS 216B.165(3).

       53.     As a direct and proximate result of Plaintiff’s unlawful termination she has

suffered damages and is entitled to recovery.

       WHEREFORE, Plaintiff demands judgement against Defendant as follows:

       a)      That Defendant be enjoined from further unlawful conduct as described herein;

       b)      That Plaintiff be reinstated effective July 28, 2021, or in the alternative be

               awarded front pay;

       c)      That Plaintiff be awarded all lost earnings and benefits;

       d)      That Plaintiff be awarded compensatory damages including emotional distress;

       e)      That Plaintiff be awarded liquidated damages;

       f)      That Plaintiff be awarded punitive damages;

       g)      That Plaintiff be compensated for the adverse tax consequences of receiving a

               lump sum award rather than her compensation over several, separate tax years;

       h)      That Plaintiff be awarded prejudgment interest;



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       i)      That Plaintiff be awarded attorneys’ fees and costs; and

       j)      That Plaintiff be awarded all other legal and equitable relief to which she may

               entitled.


                                              Respectfully Submitted,

                                              /s/ George M. Reul, Jr.
                                              Kelly Mulloy Myers (KY Bar #83452)
                                              George M. Reul, Jr. Admitted Pro Hac Vice
                                              Admission (OH Bar No. 0069992)
                                              Trial Attorneys for Plaintiff
                                              Freking Myers & Reul LLC
                                              600 Vine Street, Ninth Floor
                                              Cincinnati, Ohio 45202
                                              Phone: (513) 721-1975
                                              Fax: (513) 651-2570
                                              kmyers@fmr.law
                                              greul@fmr.law



                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury on all issues so triable.


                                              /s/ George M. Reul, Jr.


                                 CERTIFICATE OF SERVICE

       I hereby certify that on February 11, 2022, a copy of the foregoing was filed electronically

using the Court’s CM/ECF system. Notice of this filing will be sent to all parties by operation of

the Court’s electronic filing system and copies will be mailed via U.S. mail, e-mail and/or facsimile

to those parties who are not served via the Court’s electronic filing system. Parties may access

this filing through the Court’s System.


                                              /s/ George M. Reul, Jr.

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